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AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America

2 )
Dream Jackson Case No.

)

)

)

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) Dream Jackson os

who is accused of an offense or violation based on the following document filed with the court:

 

RX) Indictment O Superseding Indictment C1 Information © Superseding Information © Complaint

O Probation Violation Petition © Supervised Release Violation Petition O Violation Notice O Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 371 - Conspiracy to Commit an Offense Against the United States.

js Digitally signed by
G. M ichael G. Michael Harvey
H arv ey Date: 2023.03.09

 

16:46:25 -05'00'
Date: 03/09/2023
Issuing officer's signature
City and state: _ Washington, D.C. G. Michael Harvey, U.S. Magistrate Judge

 

Printed name and title

 

Return

 

This warrant was received on (date) 3/%4/z2e23 _,and the person was arrested on (date) _=// Bere?

at (cityand state) £2 visyfé DALE GA_

Date: 3/3/2 —me Emenee LteA

| Arresting officer's signature

fA PDA MLNERETT) SECA ACENTO _

Printed name and title

 

 

 
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AO 442 (Rev 1/11) Arrest Warrant (Page 2)

This second page contains personal identifiers provided for law-enforcement use only
and therefore should not be filed in court with the executed warrant unless under seal.

(Not for Public Disclosure)

Name of defendant/offender; Dream Jackson

Known aliases:

 

fhavi inner vedidence: 1241 Creek Bark Court, Riverdale, GA 30296

 

 

 

Prior addresses to which defendant/offender may still have ties:

 

 

 

Last known employment:

 

Last known telephone numbers:

 

 

 

 

 

 

 

Place of birth: a oe -

Date of birth: 8/20/1993 BS a - -
Social Security number: XXX-XX-XXXX

Height: Weight:

Sex: Race:

Hairs Eyes:

 

 

Scars, tattoos, other distinguishing marks:

 

 

 

History of violence, weapons, drug use:

 

Known family, friends, and other associates (name, relation, address, phone number):

 

 

FBI number: 762949XD6_

 

Complete description of auto:

 

 

Investigative agency and address: ATF

 

Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):

 

 

Date of last contact with pretrial services or probation officer (if applicable):

 

 

 
